                                         Case 3:23-cv-03223-AMO Document 160 Filed 07/15/24 Page 1 of 3




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         PAUL TREMBLAY, et al.,
                                   7                                                        Case No. 23-cv-03223-AMO (SK)
                                                        Plaintiffs,
                                   8
                                                 v.                                         NOTICE OF SETTLEMENT
                                   9                                                        CONFERENCE AND SETTLEMENT
                                         OPENAI, INC., et al.,                              CONFERENCE ORDER
                                  10
                                                        Defendants.
                                  11

                                  12   TO ALL PARTIES AND COUNSEL OF RECORD:
Northern District of California
 United States District Court




                                  13          The above matter was referred to Magistrate Judge Sallie Kim for settlement purposes.

                                  14          You are hereby notified that a Settlement Conference is scheduled for September 13, 2024

                                  15   at 9:30 a.m. in Courtroom C, 15th Floor, Federal Building, 450 Golden Gate Avenue, San

                                  16   Francisco, California 94102.

                                  17          It is the responsibility of counsel to ensure that whatever discovery is needed for all sides

                                  18   to evaluate the case for settlement purposes is completed by the date of the Settlement Conference.

                                  19   Counsel shall cooperate in providing discovery informally and expeditiously.

                                  20          Lead trial counsel shall appear at the Settlement Conference with the parties. Any party

                                  21   who is not a natural person shall be represented by the person(s) with unlimited authority to

                                  22   negotiate a settlement. A person who needs to call another person not present before agreeing to

                                  23   any settlement does not have full authority. An insured party shall appear with a representative of

                                  24   the carrier with full authority to negotiate up to the limits of coverage. Personal attendance of a

                                  25   party representative will rarely be excused by the Court, and then only upon separate written

                                  26   application demonstrating substantial hardship served on opposing counsel and lodged as early as

                                  27   the basis for the hardship is known but no later than the Settlement Conference Statement.

                                  28          If parties have not previously made settlement offers, Plaintiff shall submit a
                                          Case 3:23-cv-03223-AMO Document 160 Filed 07/15/24 Page 2 of 3




                                   1   settlement demand no fewer than 14 calendar days prior to the Settlement Conference.

                                   2   Defendant shall submit a response to the demand no later than 7 days before the Settlement

                                   3   Conference.

                                   4           Each party shall prepare a Settlement Conference Statement, which must be

                                   5   LODGED with the undersigned’s Chambers (NOT electronically filed) no later than

                                   6   fourteen (14) calendar days prior to the conference. Please 3-hole punch the document at the

                                   7   left side.

                                   8           All parties shall also submit their Settlement Conference Statement in .pdf format

                                   9   and email their statement to SKSettlement@cand.uscourts.gov.

                                  10           The Settlement Conference Statement must be served on opposing counsel. The

                                  11   Settlement Conference Statement shall not exceed ten (10) pages of text and twenty (20) pages of

                                  12   exhibits and must include the following:
Northern District of California
 United States District Court




                                  13           1.     A brief statement of the facts of the case.

                                  14           2.     A brief statement of the claims and defenses including, but not limited to, statutory

                                  15                  or other grounds upon which the claims are founded and a candid evaluation of the

                                  16                  parties’ likelihood of prevailing on the claims and defenses.

                                  17           3.     A list of the key facts in dispute and a brief statement of the specific evidence

                                  18                  relevant to a determination of those facts.

                                  19           4.     A summary of the proceedings to date and any pending motions.

                                  20           5.     An estimate of the cost and time to be expended for further discovery, pretrial and

                                  21                  trial.

                                  22           6.     The relief sought, including an itemization of damages.

                                  23           7.     The party’s position on settlement, including present demands and offers and a

                                  24                  history of past settlement discussions.

                                  25           Any party may submit an additional confidential settlement letter to the Court not to

                                  26   exceed three (3) pages, and the contents of this confidential settlement letter will not be disclosed

                                  27   to the other parties. However, parties may not refuse to share information in the items 1 through 7

                                  28   above. The parties should title any additional confidential settlement letter as such and also denote
                                                                                         2
                                         Case 3:23-cv-03223-AMO Document 160 Filed 07/15/24 Page 3 of 3




                                   1   on each page, either in the header or footer, that the letter is “Not Shared.”

                                   2          It is not unusual for the conference to last eight (8) or more hours. The parties should be

                                   3   prepared to discuss such issues as:

                                   4          1.      Their settlement objectives.

                                   5          2.      Any impediments to settlement they perceive.

                                   6          3.      Whether they have enough information to discuss settlement. If not, what

                                   7                  additional information is needed?

                                   8          4.      The possibility of a creative resolution of the dispute.

                                   9          The parties shall notify Chambers immediately at (415) 522-2112 if this case settles prior

                                  10   to the date set for Settlement Conference. Counsel shall provide a copy of this order to each party

                                  11   who will participate in the conference.

                                  12          IT IS SO ORDERED.
Northern District of California
 United States District Court




                                  13   Dated: July 15, 2024

                                  14

                                  15                                                                 ________________________
                                                                                                     SALLIE KIM
                                  16                                                                 United States Magistrate Judge
                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                          3
